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                         UNITED STATES DISTRICT COURT

                         WESTERN DISTRICT OF LOUISIANA

                                 LAFAYETTE DIVISION

  UNITED STATES OF AMERICA                *CRIMINAL NO. 6:23-CR-00142
                                          *
  VERSUS                                  *JUDGE SUMMERHAYS
                                          *
  JOSEPH LAWRENCE HARRISON                *IVIAGISTRATE JUDGE AYO
  CODY LAJOHN WILLIAMS

               NOTICE OF GOVERNMENT'S E)(PERT WITNESSES
              AND REQUEST FOR DEFENSE EXPERT WITNESSES

         NOW INTO COURT, comes the UNITED STATES OF AMERICA, through the
  undersigned Assistant United States Attorney, pursuant to Federal Rule of Evidence
  702 andRule 16(a)(1)(G) of the Federal Rules of Criminal Procedure, hereby provides
  this notice of the government's intent to use expert testimony in its case-in-chief at
  trial in the above-referenced case.
         The Government also requests written notice, pursuant to Rule 16(b)(1)(C) of
  the Federal Rules of Criminal Procedure, of any expert witnesses the Defendants,
  JOSEPH LAWRENCE IIARRISON and CODY LAJOHN WILLIAMS, plans to call
  at trial.
                               Notice of Expert Witness
         The Government may call an expert to testify concerning forensic cellular
  phone analyses. The experts that may be called include:
         (1) Detective Neil St.Cyr
               Lafayette Parish Sheriffs Office
               Digital Forensic Analyst
  Statement of Opinions and. Bases and, Reasons for Opinions: If called to testifu,
  Dig:ital Forensic Analyst St.Cyr would render an expert opinion on cellular phone
  forensic analyses, mobile device data extrication, data extraction applications
  including but not limited to Cellebrite UFED V7 and Oxygen Forensic Detective
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  V15.3.0.86, the type of mobile data that can be collected by these programs. This will
  include the methodologies and techniques utilized to extract data, including but not
  limited to meta data for text messages, videos, photographs, call detail records. He
  will also testifu about the results of forensic examinations that he performed on
  cellular devices collected during the investigation as indicated in the attached Digital
  Forensics Report.


  Trainine/Qualifications: Digital Forensic Analyst St.Cyr will testify about his
  training, qualifications, and experience consistent with his attached Curriculum
  Vitae. He has been a certified Digital Forensic Analyst since May 2001. In that
  capacity, he is trained in using Cellebrite, Oxygen, Gray Key, and other digital
  forensic software and routinely uses these programs to extract and analyze data. His
   duties including conducting computer/cellular forensics and the forensic collection,
  preservation, examination, and presentation of forensic artifacts as an expert witness
   for criminal proceedings. He has not testified in any prior proceedings nor authored
   any publications in the last 10 years.


   Pursuant to Fed. R. Crim. P. 16(a)(1)(G)(v) I approve the foregoing disclosure.
        -,/./
          /..     /'1
   Detective NeiI St.Cyr,
   Lafayette Parish Sheriffs Office
   Digital Forensic Analyst
                                            Respectfully submitted,

                                            BRANDON B. BROWN
                                            United States Attorney



                                                        A. MURPHY, La. Bar No.
                                            Assistant United States Attorney
                                            800 Lafayette Street, Suite 2200
                                            Lafayette, Louisiana 7050 1
                                            Telephone: (337) 262-6618
                                              2
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                                  Lafayette Parish
                                   Sheriff's Office
                              Digital Forensics Repoft
                           Examiner Detective Neil St.Cyr
                                         (337-236-s63s)



   The contents of this report are prepared based on the evidence available at the time of
      writing. The author of this report reserves the right to change finding based on
   additional information. This report may contain sensitive or illicit material. This report
                       should be viewed only by authorized personnel.

        Aqencv Requestins                          Lafavette Parish Sheriff's Office
       Aqencv Case Number                                    XX-XXXXXXX
           Case Aqent                                  Det Brandon Malaxonis
         TVpe of Request                                 Cell ohone extraction
           Devioe One                                        TCL T767W
           Devie Two                                          Samsunq




  On February 22,2023 atapproximately 1310 hours, Detective Brandon Malaxonis provided me
  with three cellphones: TCL, Samsung, Iphone in reference to a Aggravated Kidnapping, case
  23-00050306. Det. Malaxonis requested a full extraction of all three phones. Det. Malaxonis
  provided me with a request for examination and search warrant signed by 15b JDC
  Commissioner Andre Doguet for all three devices. The devices and paperwork were secured in
  a locked evidence cabinet until fufther processing was available.




  Device One
  BI ack   TCI MqdeLTTQZULl lvlEl_Q! 6 1 6800070s 1 8.
                                                   1
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  Device Two


  Device Three




  Tools Used
           &llebrite UFED                                          v7.62.A.L73
      &llebrite PhYsical Analyzer                                   v7.59.1.16
         Owqen Forcnsic Detective                                   v15.3.0.86



  On February 22, 2023 at approximately 1443 hours, I retrieved device one (ICL) from the
  locked evidence cabinet. I began photographing the device noting it was in good condition with
  minor wear. I reviewed the search warrant and verified the device matched that of the device
  on the search warrant. I turned on the device and obserued the device to be unlocked and in
  airplane mode. I entered the settings menu where I enabled developer options. In developer
  options I turned on stay awake and USB debugging.

  At approximately 1448 hours, I connected the device to a forensic computer and began an
  advanced logical extraction followed by an MTK Live full file system extraction using Cellebrite
  UFED V7.62.0.173. Once completed I kept the device connected and began an Oxygen Android
  Agent extraction using Oxygen Forensic Detective V15.3.0.86. These task completed
  successfully at approximately 1554 hours.

  Upon completion I disconnected the device and returned the settings to previous. I then
  impofted the extractions into the affiliated readers. I generated a report for each extraction
  that has been attached with this report. I returned the device to the locked evidence cabinet
  until released to detectives.

  No fufther information at this time.


  END OF REPORT
  Det. Malaxonis was notified that the extractions and analysis were completed. All photographs
  obtained and reports prepared were saved to an appropriate storage device for digital evidence.
  The evidence was returned to the locked evidence cabinet until released to Det Malaxonis.
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  Detective Neil St.Clr
  Lafayette Parish Sheriffs Offtce




  Disclaimer
  It is the decision of the working case agenVoffier to determine if the oGracted data is of
  evidentiary value. The lafayette Parish Sheriffs Offtce will maintain the original image files
  until the case(s) has been adjudicated. Requests for copies and/or further o<aminations may
  be directed to Detective Neil St.Clr at (337) 236-5635 or Neil.StClr@LafayetteSheriff.om
  Depending on file sizg storage media may need to be provided by the requesting party.
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                                       Nnrr St. CvR
             LAr.c,vsrrr P.lnrsH Surrurr's OrrIcB FoRuNsrc D.q,r^q, Irwpsucaron

           (337)236-5635
      Phone:                                                              301 WVermillionSt
      Neil.StCyr@LafayetteSheriff.com                                     Lafayette, LA 70503

  EouclrroN

     BS     University of LouisianaatLafayette, General Studies                   May 2007
            Minored in Criminal Justice

  ExpBnrnNcr
                     Lafayette Parish Sheriffs Oflice September 2007-Present
     Forensic Data Investigator                                        I|l{.ay 2021- Present
     Crimes Against Persons Investigator                            July 2015 -May 2021
     Support Service Canine Handler                           September 2010 - July 2015
     Patrol Deputy                                       September 2007 - September 2010

  PnorBssroNAL TRAINING


     Advanced Mobile Device Examiner
     National Computer Forensics Institute U.S.S.S.
     September 18,2023 - September 29,2023 Hoover, AL

     Drone Analysis and Forensics
     National Computer Forensics Institute U. S. S.S.
     July 31,2023 -August 4,2023 Hoover, AL

     Digital Investigations Supervisors Course
     National Computer Forensics Institute U.S.S.S.
     May 23,2023 -May 25,2023Hoover, AL

     Vehicle Forensics Course
     National Computer Forensics Institute U. S. S. S.
     May 1, 2023 -May 5,2023

     Cellebrite Certified Operator
     National Computer Forensics Institute U. S. S. S.
     March 16,2023 -March 17,2023 Hoover, AL

     Mobile Device Examiner Program
     National Computer Forensics Institute U.S.S.S.
     February 27 ,2023 - March 16,2023 Hoover, AL




                                                                                     St. Cyr - I
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     Forensic Scripting
     National Computer Forensics Institute U. S. S. S.
     December 12,2022 - December 16,2022 Hoover, AL

     Cellebrite Certified Physical Analyst
     Cellebrite
     October 5,2022 - October 7,2022 Lafayette, LA

     Cellebrite Certilied Operator
     Cellebrite
     October 3,2022-October 4,2022 Lafayette, LA

     Forensic Explorer Introduction Training
     National Computer Forensics Institute U. S. S. S.
     May 9, 2022- May 10, 2022Hoover, AL

     Basic Computer Evidence Recovery Training
     National Computer Forensics Institute U. S. S.S.
     April 18, 2022- May 19, 2022Hoover, AL

     Social Networking Investigations
     National Computer Forensics Institute U.S.S.S.
     December 13,2021- December 17,2021Hoover, AL

     Intro to ICACAICMEC Investigations and Basic Forensics
     Louisiana Bureau of Investigations Cyber Crime Unit
     November 16,2021- November 18,2021 Baton Rouge, LA

     Digital Video Recorders
     National Computer Forensics Institute U. S. S. S.
     November 8,2021- November 12,2021 Hoover, AL

     Digital Evidence Investigations
     National Computer Forensics lnstitute U. S. S. S.
     May 31, 2021- June 4,2021 Hoover, AL

     Death and Homicide Investigation
     Public Agency Training Council
     October 19,2020 - October 23,2020 Gonzales, LA

     Cell Hawk New User and Refresher Training
     Hawk Analytics
     June 5, 2019 Lafayette, LA

     2018 Louisiana Homicide Investigation Association Homicide Conference
     Louisiana Homicide lnvestigators" Association



                                                                             St. Cyr - 2
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     September 10,2018 - September 14,2018

     26th Annual Homicide Conference
     Regional Organized Crime [nformation Center
     September 17-20,2017 Biloxi, MS

     "Blood Bullets and More" Techniques for Investigating Violent Crime
     Texas Forensic Associates Consulting and Training
     June l, 2016 - June 3, 2016 Galveston, TX

     2015 Louisiana Homicide Investigations Association Homicide Conference
     Louisiana Homicide Investigators' Association
     August 31,2015 - September 4,2015 Lake Charles, LA

  Courpurrn Sxrlls
     Windows OS, Cellebrite UFED 4PC, Cellebrite Physical Analyzer, Oxygen Forensics
     Detective, GrayKey, Magnet Axiom, FTK Imager, OS Forensics, Data Pilot, Forensic
     Explorer, Ace Input, Autopsy, Word, Excel, Python, CellHawk, DVR Examiner, iVE,
     DCode, HxD, DB Browser.

  CanrrrrclrtoNs

     Cellebrite Certified Operator
     National Computer Forensics Institute
     March 17,2023 Hoover, AL

     Cellebrite Certilied Physical Analyzer
     Cellebrite
     October 7,2022 Lafayette, LA

     Cellebrite Certified Operator
     Cellebrite
     October 4,2022 Lafayette, LA

     OS Forensics Triage Certification
     PassMark Software
     November 18,2021Baton Rouge, LA




                                                                                  St. Cyr - 3
